
63 So.3d 127 (2011)
Irina FRIEDMAN
v.
Leslie Boyd FRIEDMAN.
No. 2011-OC-1192.
Supreme Court of Louisiana.
June 10, 2011.

ORDER
Granted. The December 14, 2010, transcript clearly reveals that the trial court ordered the parties to prepare a written judgment. Therefore, the March 29, 2011, written judgment is the "ruling" at issue for purposes of Rule 4-3. See Kosmitis v. Bailey, 96-1573 (La.10/4/96), 680 So.2d 1167. Accordingly, the ruling of the court of appeal is set aside, and the case is remanded to the court of appeal to rule on the merits of the application.
JOHNSON, J., would stay the hearing and obtain an opposition.
